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                 IN THE UNITED STATES DISTRICT COURT FOR
                   THE MIDDLE DISTRICT OF PENNSYLVANIA

BETHANY DITZLER,                         CIVIL ACTION –LAW

                Plaintiffs

          v.                             DOCKET NO: 1:21-CV-1852

PINNACLEHEALTH OBSTETRICS
AND GYNECOLOGY SPECIALISTS,
PINNACLEHEALTH MEDICAL                   JUDGE CONNER
SERVICES; UPMC PINNACLE
HOSPITALS; UPMC PINNACLE;
HANFORD NDLOVU; BEVERLY A.
HALL NDLOVU; AND LEE BLECHER

                Defendants               JURY TRIAL DEMAND

                             ENTRY OF APPEARANCE


TO THE CLERK:

      Kindly enter our appearance on behalf of Defendants, Pinnaclehealth
Obstetrics and Gynecology Specialists, Pinnaclehealth Medical Services, UPMC
Pinnacle Hospitals, UPMC Pinnacle and Lee Blecher in the above-captioned
action.
                                           Respectfully submitted,

                                           GORDON & REES

Date: December 10, 2021
                                           Thom as M. Chairs, Esquire
                                           Attorney I.D. No.: 78565
                                           111 North Front Street, Suite 100
                                           Harrisburg, PA 17101
                                           Tele: (717) 589-4600
                                           E-mail: tchairs@grsm.com
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                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing has been

served on all counsel of record this 10th day of December, 2021 , via the

Electronic Filing System.




                                           _____________________
                                           Thomas M. Chairs, Esquire
